                       Case 23-41037-can7                                            Doc 22-6 Filed 08/15/23 Entered 08/15/23 11:46:41                                                                                                                                                 Desc                                              4
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